FILED

U.S. DISTRICT COURT
MIDDLE DISTRICT OF TENN.

UNITED STATES DISTRICT COURT OCT 03 2027
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION Me
UNITED STATES OF AMERICA CLERK

NO, 3/2a-00327

18 U.S.C. § 2
18 U.S.C. § 241
[1] CHESTER GALLAGHER 18 U.S.C. § 248(a)(1)
[2] HEATHER IDONI
[3] CALVIN ZASTROW
[4] COLEMAN BOYD
[5] CAROLINE DAVIS
[6] PAUL VAUGHN

[7] DENNIS GREEN

[8] EVA EDL

[9] EVA ZASTROW
[10] JAMES ZASTROW
[11]PAUL PLACE

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INDICTMENT

THE GRAND JURY CHARGES:
The Grand Jury for the Middle District of Tennessee charges that, at times material to this
Indictment, on or about the dates stated below:
Introduction
1. The carafem Health Center (“Clinic”) was a provider of reproductive health services,
including abortions, located in Mt. Juliet, in the Middle District of Tennessee.
2. The following individuals were present at the Clinic on March 5, 2021, together and
with others known and unknown to the Grand Jury:
a. [1] CHESTER GALLAGHER, an individual who resides in Tennessee;
b. [2] HEATHER IDONI, an individual who resides in Michigan;
c. [3] CALVIN ZASTROW, an individual who resides in Michigan;

d. [4] COLEMAN BOYD, an individual who resides in Mississippi;

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e. [5] CAROLINE DAVIS, an individual who resides in Michigan;
f. [6] PAUL VAUGHN, an individual who resides in Tennessee;
g. [7] DENNIS GREEN, an individual who resides in Virginia;

h. [8] EVA EDL, an individual who resides in South Carolina;

i. [9] EVA ZASTROW, an individual who resides in Arkansas;

j. [10] JAMES ZASTROW, an individual who resides in Missouri; and
k. [11] PAUL PLACE, an individual who resides in Tennessee.

3. Employee A was employed by the Clinic and was at work on March 5, 2021.

4, Patient A was a Clinic patient who was seeking to obtain reproductive health services
at the Clinic on March 5, 2021.

COUNT ONE

5. The allegations contained in paragraphs 1 through 4 of this Indictment are realleged and
incorporated herein by reference.

6. From on or about February 10, 2021, to on or about March 5, 2021, in the Middle
District of Tennessee and elsewhere, defendants [1] CHESTER GALLAGHER, [2] HEATHER
IDONI, [3] CALVIN ZASTROW, [4] COLEMAN BOYD, [5] CAROLINE DAVIS,
[6] PAUL VAUGHN, and [7] DENNIS GREEN did willfully combine, conspire, and agree with
one another, and with other persons known and unknown to the Grand Jury, to injure, oppress,
threaten, and intimidate patients and employees of the Clinic in the free exercise and enjoyment of
the rights and privileges secured to them by the laws of the United States, namely, the right to
obtain and seek to obtain, and to provide and seek to provide, reproductive health services, as
provided by Title 18, United States Code, Section 248(c), in violation of Title 18, United States

Code, Section 241.

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Purpose of the Conspiracy

7. It was the plan and purpose of the conspiracy that defendants [1] CHESTER
GALLAGHER, [2] HEATHER IDONL [3] CALVIN ZASTROW, [4] COLEMAN BOYD,
[5] CAROLINE DAVIS, [6] PAUL VAUGHN, and [7] DENNIS GREEN, aided and abetted
by each other and by other co-conspirators known and unknown to the Grand Jury, would create a
blockade to stop the Clinic from providing, and patients from obtaining, reproductive health
services.

Overt Acts

8. In furtherance of the conspiracy, and to accomplish the objects of the conspiracy, the
conspirators committed various overt acts, including, but not limited to, the following:

9. In or about February 2021, [1] CHESTER GALLAGHER utilized social media and
promoted a series of anti-abortion events scheduled for March 4 through 7, 2021, in the Nashville
area. [1] GALLAGHER used the term “rescue” to describe the physical blockade of a
reproductive health care facility.

10. In or about mid-February 2021, [1] CHESTER GALLAGHER and [2] HEATHER
IDONI used Facebook, a social media platform, to coordinate travel and logistics for [2] IDONI,
[3] CALVIN ZASTROW, [5] CAROLINE DAVIS, [7] DENNIS GREEN, and other blockade
participants known and unknown to the Grand Jury to travel to Nashville. [1] GALLAGHER and
[2] IDONI also used Facebook to identify blockade participants who would be willing to risk
arrest to further the objects of the conspiracy.

11. In or about mid-February 2021, [5] CAROLINE DAVIS used Facebook to

communicate to [4] COLEMAN BOYD that she would meet him for a “rescue” in Tennessee in

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March 2021. [5] DAVIS then did meet [4] BOYD and others in Mt. Juliet, Tennessee, on or about
March 4, 2021, to participate in a blockade at the Clinic.

12. In or about March 2021, [2] HEATHER IDONI, [3] CALVIN ZASTROW, [4]
COLEMAN BOYD, [5] CAROLINE DAVIS, [7] DENNIS GREEN, and others known and
unknown to the Grand Jury, traveled to the Middle District of Tennessee from other states.

13. In or about March 4, 2021, [4] COLEMAN BOYD advertised the clinic blockade on
his Facebook social media account. [4] BOYD posted, “Lord willing, our family will be doing a
Facebook live of some ministry activities tomorrow morning around 7:45 AM central time. Please
be in prayer towards this. Please plan to join us and share it if possible.”

14. Onor about 7:45 a.m. on March 5, 2021, [4] COLEMAN BOYD stood in the hallway
outside of the Clinic suite and used his Facebook account to create a livestream titled, in part, “Mt.
Juliet, TN Rescue March 5, 2021.”

15. [1] CHESTER GALLAGHER, [2] HEATHER IDONL [3] CALVIN ZASTROW,
[6] PAUL VAUGRBN, and others known and unknown to the Grand Jury gathered in the hallway
outside of the Clinic suite, directly outside the Clinic’s two entry doors, at 7:45 a.m.

16. [1] CHESTER GALLAGHER and [3] CALVIN ZASTROW stood directly in front
of the Clinic’s main entry door, blocking access to the Clinic when [4] COLEMAN BOYD
commenced his Facebook livestream at approximately 7:45 a.m. [4] BOYD announced on his
Facebook livestream that the individuals depicted on his livestream, which included himself,
[1] GALLAGHER, [2] HEATHER IDONI, [3] CALVIN ZASTROW, [6] PAUL VAUGHN,
and others known and unknown to the Grand Jury, were present at 7:45 a.m. because the Clinic

was scheduled to open at 8:00 a.m.

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17. At approximately 7:51 a.m., [7] DENNIS GREEN used his Facebook account to
create a livestream of the blockade of the Clinic. [7] GREEN recorded himself entering the Clinic
building, and then riding up the elevator to the Clinic floor with [5] CAROLINE DAVIS and
others known and unknown to the Grand Jury.

18. [5] CAROLINE DAVIS, [7] DENNIS GREEN, and others known and unknown to
the Grand Jury arrived approximately six minutes into [4] COLEMAN BOYD'S livestream video,
at approximately 7:51 a.m. [5] DAVIS, [7] GREEN, and others known and unknown to the Grand
Jury walked through the clinic hallway and assumed positions blocking the main door to the Clinic.

19. When Patient A and her companion arrived outside the Clinic for a scheduled
reproductive health service, they encountered [4] COLEMAN BOYD, who was standing next to
the only hallway leading to the Clinic’s entry doors. [4] BOYD attempted to engage Patient A by
asking her numerous questions. For example, [4] BOYD asked Patient A if she was, “Trying to
come to the abortion mill?” Patient A responded and walked away, but [4] BOYD persisted and
asked Patient A, “Can we talk to you for a minute?” [4] BOYD then encouraged one of his children
to approach Patient A and her companion. [4] BOYD’S child then walked up to Patient A and
asked her and her companion if they’re “looking for the abortion clinic?” Patient A and her
companion walked into the crowded hallway but stopped short of the Clinic entrance. [4] BOYD
then directed his livestream camera into the hallway and captured Patient A speaking with
Employee A. [4] BOYD told his livestream audience that Patient A was a “mom coming to kill
her baby.”

20. When Employee A returned to the Clinic staff door, [3] CALVIN ZASTROW

physically blocked the door for Clinic staff. [3] ZASTROW refused to move from the door, and

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acknowledged to Employee A that he was trespassing. Employee A was unable to enter the Clinic,
and exited the building.

21. Shortly after 8:00 a.m., [1] CHESTER GALLAGHER used his Facebook account to
post a livestream video titled, “RESCUE.” [1] GALLAGHER announced that he, [3] CALVIN
ZASTROW, and another individual known to the Grand Jury are “leading a rescue.”
[1] GALLAGHER further stated that the “rescuers” present were “willing to be incarcerated” to

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“rescue families from this place of destruction.” During the course of the recording,
[1] GALLAGHER explained that a successful “rescue” involved delay tactics that kept patients
from obtaining, and the Clinic from performing, abortions.

22. [1] CHESTER GALLAGHER announced to [2] HEATHER IDONI, [3] CALVIN
ZASTROW, [5] CAROLINE DAVIS, [6] PAUL VAUGHN, [7] DENNIS GREEN, and others
known and unknown to the Grand Jury that, “It’s very important that if you’re not planning on
being arrested, do not sit in front of the door, do not get pictured blocking the door. I just don’t
want anybody having their picture taken sitting in front of the door unless you’re being arrested.
Otherwise, just stand up and be in the hallway.” Following [1] GALLAGHER’S announcement,
[2] IDONI, [3] ZASTROW, [5] DAVIS, and [7] GREEN and others known and unknown to the
Grand Jury used their bodies to block the Clinic’s doors. [4] COLEMAN BOYD remained at the
opposite end of the Clinic hallway livestreaming the events with a cell phone.

23. [2] HEATHER IDONI, [3] CALVIN ZASTROW, [5] CAROLINE DAVIS,
[7] DENNIS GREEN and others known and unknown to the Grand Jury continued to physically
block the Clinic’s doors.

24. After officers with the Mt. Juliet Police Department arrived and directed the

individuals in the hallway outside the Clinic to leave, [1] CHESTER GALLAGHER told

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[2] HEATHER IDONI, [3] CALVIN ZASTROW, [5] CAROLINE DAVIS, [6] PAUL
VAUGHN, [7] DENNIS GREEN and others known and unknown to the Grand Jury that, “We’re
at the point now where we need to know who is going to jail and who is not.” Following
[1] GALLAGHER’S announcement, [2] IDONI, [3] CALVIN ZASTROW, [5] DAVIS, [7]
GREEN, and others known and unknown to the Grand Jury blocked the Clinic’s doors.

25. As [6] PAUL VAUGHN stood in the hallway, [1] CHESTER GALLAGHER
announced to [2] HEATHER IDONT, [3] CALVIN ZASTROW, [5] CAROLINE DAVIS, [6]
VAUGHN, [7] DENNIS GREEN and others known and unknown to the Grand Jury that, “We
have two doors to block.”

26. During [1] CHESTER GALLAGHER’S Facebook livestream, [6] PAUL
VAUGHN alerted [1] GALLAGHER and others that the police were soon going to arrest
individuals after giving a final warning. After [6] VAUGHN spoke with the police officers he
stood next to [1] GALLAGHER, who explained to his Facebook livestream audience that [6]
VAUGHN was engaging the police and “trying to buy us as much time as we can.”

27. [1] CHESTER GALLAGHER stood next to [2] HEATHER IDONI, [5]
CAROLINE DAVIS, [7] DENNIS GREEN and others known and unknown to the Grand Jury
in front of the Clinic’s main entry door and explained to his Facebook livestream audience that he
and the blockade participants “already turned away one couple” and hoped to “stop as many
murderous appointments as we can.”

All in violation of Title 18, United States Code, Section 241.

COUNT TWO

28. The allegations contained in Paragraphs 1 through 27 of this Indictment are realleged

and incorporated herein by reference.

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29. On or about March 5, 2021, in the Middle District of Tennessee and elsewhere, the

defendants, [1] CHESTER GALLAGHER, [2] HEATHER IDONL, [3] CALVIN ZASTROW,

[4] COLEMAN BOYD, [5] CAROLINE DAVIS, [6] PAUL VAUGHN, [7] DENNIS GREEN,

[8] EVA EDL, [9] EVA ZASTROW, [10] JAMES ZASTROW, and [11] PAUL PLACE,

aiding and abetting one another, did by force, threat of force, and physical obstruction,

intentionally injure, intimidate, and interfere with, and attempt to injure, intimidate, and interfere

with Patient A, Employee A, and the other employees of the Clinic, because Patient A was

obtaining, and the Clinic was providing, reproductive health services.

All in violation of Title 18, United States Code, Sections 248(a)(1) and 2.

A TRUE BILL

FOREPERSON

MARK H. WILDASIN
STATES ATTORNEY

fe .
“AMANDA J. KLOPF
ASSISTANT UNITED STATES ATTORNEY

KRISTEN M. CLARKE
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